Case 3:08-cr-30170-DRH-CJP      Document 416     Filed 07/23/10   Page 1 of 1   Page
                                    ID #1337



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

SHARON STEENKEN,

Defendant.                                                No. 08-30170-DRH

                                      ORDER

HERNDON, Chief Judge:

             Now before the Court is Steenken’s July 22, 2010 motion to modify

conditions of pretrial release (Doc. 415). Specifically, Steenken moves the Court for

permission to travel to Nogales, Sonora, Republic of Mexico for dental work on three

different occasions. Neither the Government nor Pre-Trial Services oppose the

motion. Based on the reasons stated in the motion, the Court GRANTS the motion.

The Court MODIFIES the conditions of bond to allow Defendant to travel to Nogales,

Sonora, Republic of Mexico for dental work. Further, Defendant shall call her Pre-

Trial Services Officer at the time she departs for Nogales and when returns home

from Nogales.

             IT IS SO ORDERED.

             Signed this 23rd day of July, 2010.

                                              /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court
